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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
                             NEWARK VICINAGE
_____________________________________
GODWIN AGBIM and                      Case No.: 2:22-cv-5626
ANTHONY WHEATLEY

                 Plaintiffs,
                                                    COMPLAINT AND DEMAND
       v.                                           FOR JURY TRIAL

SELECT HOME WARRANTY, LLC

             Defendant.


                                         COMPLAINT

       GODWIN AGBIM (“Mr. Agbim”), and ANTHONY WHEATLEY (“Mr. Wheatley”)

(hereinafter collectively referred to as “Plaintiffs”) by and through their attorneys, KIMMEL &

SILVERMAN, P.C., alleges the following against SELECT HOME WARRANTY, LLC

(“Defendant”):

                                       INTRODUCTION

       1.        Plaintiffs Complaint is based on the Telephone Consumer Protection Act

(“TCPA”), 47 U.S.C. § 227 et seq.

                                JURISDICTION AND VENUE

       2.        This Court has subject-matter jurisdiction over the TCPA claims in this action

under 28 U.S.C. § 1331, which grants this court original jurisdiction of all civil actions arising


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under the laws of the United States. See Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740, 747,

181 L. Ed. 2d 881 (2012) (confirming that 28 U.S.C. § 1331 grants the United States district courts

federal-question subject-matter jurisdiction to hear private civil suits under the TCPA).

       3.      Defendant maintains its corporate headquarters in New Jersey.

       4.      Accordingly, this Court has personal jurisdiction over Defendant in this matter.

       5.      Furthermore, venue is proper under 28 U.S.C. § 1391(b)(1).

                                             PARTIES

       6.      Mr. Agbim is a natural person residing in Richmond, Texas.

       7.      Mr. Wheatley is a natural person residing in South Holland, Illinois.

       8.      Plaintiffs are “persons” as that term is defined by 47 U.S.C. § 153(39).

       9.      Select Home Warranty, LLC is a limited liability company that has its principal

place of business, head office, or otherwise valid mailing address at One International Blvd.,

Mahwah, New Jersey 07495.

       10.     Defendant is a “person” as that term is defined by 47 U.S.C. §153(39).

       11.     Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                FACTUAL ALLEGATIONS FOR PLAINTIFF GODWIN AGBIM

       12.     At all times relevant hereto, Mr. Agbim owned a cellular telephone, the number for

which was (832) XXX-4932.

       13.     At all times relevant hereto, Mr. Agbim primarily used that cell phone for

residential purposes.

       14.     Mr. Agbim registered the cell phone number ending in 4932 on the Do Not Call

Registry on or around December 29, 2019.



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       15.     Mr. Agbim registered his cell phone number on the Do Not Call list in order to

obtain solitude from unwanted telemarketing and solicitation calls.

       16.     Beginning on or around March 30, 2020, Defendant began calling and texting Mr.

Agbim for solicitation of their home warranty plan.

       17.     Prior to receiving the calls from Defendant, Mr. Agbim never sought information

about home warranties, specifically the home warranty that Defendant sought to sell Mr. Agbim.

       18.     Mr. Agbim did not consent to being contacted by Defendant.

       19.     Despite the foregoing, Defendant placed calls and sent multiple texts to Mr. Agbim

soliciting warranty services and products Mr. Agbim did not want or need.

       20.     The calls were not made for “emergency purposes,” but rather for telemarketing

purposes.

       21.     In total, Defendant sent at least seven solicitation text messages to Mr. Agbim after

his number was registered on the Do Not Call registry for at least 30 days.

       22.     Each text message promoted Defendant Select Home Warranty’s website with a

message: “Protect your savings” or “Coverage for your home” or just the name of Defendant with

a phone number to call.

       23.     An inexhaustive list of those text messages to Mr. Agbim’s cell phone is below:

                              Date:                                Caller ID:
                      March 30, 2020 at 1:46 PM                   305-910-2267
                      March 31, 2020 at 4:04 PM                   305-910-2267
                      April 1, 2020 at 2:31 PM                    305-910-2267
                      April 2, 2020 at 2:17 PM                    305-910-2267
                      April 3, 2020 at 1:56 PM                    305-910-2267
                      April 6, 2020 at 4:32 PM                    305-910-2267
                      April 7, 2020 at 1:29 PM                    305-910-2267
       24.     Upon information and belief, Mr. Agbim received additional calls and texts from

Defendant not included in the above.

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       25.      Mr. Agbim knew the identity of the caller as it was clearly displayed on the

solicitation text messages.

       26.      As a result of the foregoing, Mr. Agbim experienced frustration, annoyance,

irritation and a sense that his privacy had been invaded by Defendant.




             FACTUAL ALLEGATIONS FOR PLAINTIFF ANTHONY WHEATLEY

       27.      At all times relevant hereto, Mr. Wheatley owned a cellular telephone, the number

for which was (708) XXX-0210.

       28.      At all times relevant hereto, Mr. Wheatley primarily used that cell phone for

residential purposes.

       29.      Mr. Wheatley registered his cell phone with the Do Not Call Registry on or around

March 19, 2019.

       30.      Mr. Wheatley Registered his cell phone on the Do Not call list to obtain solitude

from invasive and harassing telemarketing calls and texts.

       31.      Beginning on or around June 1, 2020, Defendant sent series of text messages to

Mr. Wheatley’s cell phone.

       32.      Each text message displayed Defendant Select Home Warranty’s name and invited

Mr. Wheatley to click on a link to purchase Defendant’s home warranty.

       33.      Prior to receiving the texts from Defendant, Mr. Wheatley never sought

information about home warranties, specifically the home warranty that Defendant sought to sell

Mr. Wheatley.

       34.      Mr. Wheatley did not consent to be contacted by Defendant.



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        35.     Defendant’s text messages were not sent for “emergency purposes.”

        36.     Each text message promoted Defendant Select Home Warranty’s website with a

message: “Protect your savings” or “Coverage for your home” or just the name of Defendant with

a phone number to call.

        37.     An inexhaustive list of those text messages to Mr. Wheatley’s cell phone is below:


                                Date:                            Caller ID:
                        June 1, 2020                            305-910-2267
                        June 3, 2020                            305-910-2267
                        June 6, 2020                            305-910-2267
                        June 7, 2020                            305-910-2267
                        June 8, 2020                            305-910-2267
                        June 18, 2020                           305-910-2267


        38.     Upon information and belief, Plaintiff Wheatley received additional calls and text

messages not reflected in the above chart.

        39.     Mr. Wheatley knew the identity of the caller as it was clearly displayed on the

solicitation text messages.

        40.     As a result of the foregoing, Mr. Wheatley experienced frustration, annoyance,

irritation and a sense that his privacy had been invaded by Defendant.



                            PERMISSIVE JOINDER UNDER
                       FEDERAL RULE OF CIVIL PROCEDURE 20(a)

        41.     Under Federal Rule of Civil Procedure 20 (a) (1), plaintiffs “may join in one action

as Plaintiffs if…they assert any rights to relief jointly, severally, or in the alternative with respect

to or arising out of the same transaction, occurrence, or series of transactions or occurrences;

and…any question of law or fact common to all plaintiffs will arise in the action.”




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       42.       Plaintiffs’ claims involve common questions of law and fact related to the acts and

omissions of a common defendant.

       43.       Plaintiffs are pursuing damages severally.

       44.       It is in the interest of efficiency and judicial economy to have one set of events and

occurrences including briefing, discovery, deposition of a corporate representative, and pre-trial

submissions rather than to have two cases operating on separate schedules with similar questions

of law and fact and the same defendant.

       45.       Accordingly, Plaintiffs join their actions pursuant to Fed. R. Civ. P. 20(a).



                                                COUNT I
                           Defendant Violated the TCPA 47 U.S.C. § 227 (c)(5)
                            (Plaintiff Godwin Agbim v. Select Home Warranty)

       46.       Plaintiffs incorporate the forgoing paragraphs as though the same were set forth at

length herein.

       47.       The TCPA prohibits any person or entity of initiating any telephone solicitation to

a residential telephone subscriber who has registered his or his telephone number on the National

Do-Not-Call Registry of persons who do not wish to receive telephone solicitations that is

maintained by the Federal Government. 47 U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200 et. seq.

       48.       Defendant placed solicitation calls and texts without express written consent to Mr.

Agbim the fact that his number was registered on the Do Not Call Registry since 2019.

       49.       Defendant’s acts as described above were done with malicious, intentional, willful,

reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the purpose

of harassing Mr. Agbim.




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        50.      The acts and/or omissions of Defendant were done unfairly, unlawfully,

intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal defense,

legal justification or legal excuse.

        51.      As a result of the above violations of the TCPA, Mr. Agbim has suffered the losses

and damages as set forth above entitling him to an award of statutory, actual and trebles damages.

        Wherefore, Plaintiff, Godwin Agbim respectfully prays for judgment as follows:

                 a.     All actual damages Plaintiff suffered (as provided under 47 U.S.C. §

                        227(c)(5);

                 b.     Additional statutory damages of $500.00 per violative telephone texts (as

                        provided under 47 U.S.C. § 227(c)(5)(B);

                 c.     Additional treble damages of $1,500.00 per violative telephone texts (as

                        provided under 47 U.S.C. § 227(c)(5)(C);

                 d.     Injunctive relief (as provided under 47 U.S.C. § 227(c); and

                 e.     Any other relief deemed reasonable by the Court.



                                              COUNT II
                           Defendant Violated the TCPA 47 U.S.C. § 227(c)(5)
                          (Plaintiff Anthony Wheatley v. Select Home Warranty)

        52.      Plaintiffs incorporate the forgoing paragraphs as though the same were set forth at

length herein.

        53.      The TCPA prohibits any person or entity of initiating any telephone solicitation to

a residential telephone subscriber who has registered his or his telephone number on the National

Do-Not-Call Registry of persons who do not wish to receive telephone solicitations that is

maintained by the Federal Government. 47 U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200 et. seq.



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        54.        Defendant placed solicitation calls and texts to Mr. Wheatley’s cell phone despite

the fact his number had been on the Do Not Call Registry since 2019.

        55.        Defendant’s acts as described above were done with malicious, intentional, willful,

reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the purpose

of harassing Mr. Wheatley.

        56.        The acts and/or omissions of Defendant were done unfairly, unlawfully,

intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal defense,

legal justification or legal excuse.

        57.        As a result of the above violations of the TCPA, Mr. Wheatley has suffered the

losses and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles

damages.

        Wherefore, Plaintiff, Anthony Wheatley respectfully prays for judgment as follows:

              a.   All actual damages Plaintiff suffered, as provided under 47 U.S.C. § 227(c)(5);

              b. Additional statutory damages of $500.00 per violative telephone texts (as provided

                   under 47 U.S.C. § 227(c)(5)(B);

              c. Additional treble damages of $1,500.00 per violative telephone texts, as provided

                   under 47 U.S.C. § 227(c)(5)(C);

              d. Injunctive relief, as provided under 47 U.S.C. § 227(c); and

              e. Any other relief deemed reasonable by the Court.




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                                      DEMAND FOR JURY TRIAL

        PLEASE TAKE NOTICE that Plaintiffs Godwin Agbim and Anthony Wheatley demand

a jury trial in this case.



                             CERTIFICATION PURSUANT TO L.CIV.R.11.2

                 I hereby certify pursuant to Local Civil Rule 11.2 that this matter in controversy is

not subject to any other action pending in any court, arbitration or administrative proceeding.



                                                            Respectfully,



   DATED: September 16, 2022
                                                        By: /s/ Jacob U. Ginsburg
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